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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 SOUTHERN DIVISION


AMERICAN FEDERATION OF                       Case No. 8:25-cv-00430
TEACHERS, et al.,

             Plaintiffs,

      vs.

SCOTT BESSENT, et al.,

             Defendants.


                         DECLARATION OF JASON CAIN
                       IN SUPPORT OF MOTION FOR TRO

I, Jason Cain, declare as follows:

1.​ I am over the age of 18 and have personal knowledge of the facts in this
    declaration.

2.​ I live in North Carolina and currently work as an instructor of political science
    at Wake Technical Community College.

3.​ I am a military veteran. From 2000 to 2010, I served in the U.S. Army, as
    Sergeant First Class in the U.S. Army Special Operations Command and the
    82nd Airborne. In that role, I had a Top Secret security clearance.

4.​ I currently receive financial benefits from the federal government, including
    veterans’ disability compensation from the Veterans Administration.

5.​ I have previously received other financial benefits from the federal government,
    including GI bill benefits and a home loan from the Veterans’ Administration
    and student loans from the Department of Education.

6.​ I also worked for the federal government from 2012 to 2015 as Director of
    Intergovernmental Affairs at the Veterans Administration.
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7.​ As a result of my military service, employment in the civil service, and the
    financial benefits I receive, federal government agencies, including the Office
    of Personnel Management, the Department of Education, and the Department of
    Treasury, have sensitive personal information about me in their record systems.

8.​ At the Office of Personnel Management, this information includes my social
    security number, employment history, address, phone number, demographic
    information. At the Department of Treasury, this information includes my social
    security number, date of birth, bank account information, and home address. At
    the Department of Education, this information includes my social security
    number, bank records, tax returns, home address, employment data,
    documentation of marital status, family financial status and records, and
    demographic data, in addition to similar information for my family members.

9.​ I provided this personal information in order to access essential services like
    employment, disability payments, and funds to help with educational expenses.
    When I provided the information, I expected that the data would be used to
    facilitate my access to these services and only for legally authorized purposes. I
    also expected that the government would zealously safeguard access to that
    information.

10.​I feel that my right to privacy has been violated by the government’s choice to
    disclose information to DOGE representatives, who appear to be using it for
    purposes that have nothing to do with why I provided the data. I did not request
    disclosure of my personal information to DOGE representatives or provide
    written access authorizing such disclosure. My concerns are amplified because,
    based on news reports, at least some of the DOGE representatives are recent
    high school graduates or college students with a checkered history on data
    security. Further, I am concerned about the potential disclosure of my
    information to AI tools and software.

11.​My federal government benefits accounts have been previously hacked. As a
    result, my disability and education benefits were diverted to criminal
    enterprises. When that happened, I experienced both fear and helplessness as
    my funding was inaccessible to me and depleted by third parties.

12.​I am anxious about repeating this ordeal, now made more likely by DOGE’s
    recent unauthorized access to my personal information. I am outraged that the
    federal government facilitated this data breach at all, given the extreme caution
    with which I was trained to handle sensitive information both during my time in
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    the military and when I worked at the Veterans Administration. And I am
    especially galled that my personal information has been transmitted to
    individuals who appear to have little regard for data privacy.

I declare under penalty of perjury that the foregoing is true and correct.

Executed: February 11, 2025.​ ​           ​    ​      ​

​      ​     ​      ​     ​      ​        ​    ____________/s/*___________
​      ​     ​      ​     ​      ​        ​    Jason Cain

*Counsel hereby certifies that he has a signed copy of the foregoing document
available for inspection at any time by the court or a party to this action.
